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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                      REPLY IN FURTHER SUPPORT OF GOVERNMENT’S
                              MOTION FOR GARCIA HEARING

         The Government files this reply in further support of its motion for a Garcia hearing. A

  Garcia hearing is required given the potential conflicts of interest that may arise from attorney

  John Irving’s representation of Defendant Carlos De Oliveira and three individuals the

  Government may call to testify as witnesses at De Oliveira’s trial. The hearing should not be

  conducted ex parte, even if that may be appropriate for discrete portions of the hearing. Mr. Irving

  indicates that he no longer represents the witnesses, that new counsel is being made available to

  advise the witnesses, and that his co-counsel, Mr. Murrell, will be solely responsible for cross-

  examining the witnesses at trial. In light of these facts, the Court may determine that it is not

  necessary for the witnesses to appear at the Garcia hearing, but the Court retains the discretion to

  require their appearance if it determines that their presence would facilitate the Court’s inquiry.




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         I.       Potential Conflicts Call for a Garcia Hearing at the Court’s Earliest Convenience

              A potential conflict of interest arises here because the Government intends to call as

  witnesses at De Oliveira’s trial three individuals previously represented by De Oliveira’s lawyer,

  Mr. Irving, and the Government anticipates that those witnesses may provide testimony that tends

  to inculpate De Oliveira. 1 As set forth in the Rules Regulating the Florida Bar, absent informed

  consent a lawyer “must not represent a client” if “there is a substantial risk” that the representation

  “will be materially limited by the lawyer’s responsibilities to . . . a former client.” Fla. Bar R. Prof’l

  Conduct 4-1.7(a). The Rules further provide that “[a] lawyer who has formerly represented a client

  in a matter must not” either “represent another person in the same or a substantially related matter

  in which that person’s interests are materially adverse to the interests of the former client unless

  the former client gives informed consent” or “use information relating to the representation to the

  disadvantage of the former client except as these rules would permit or require with respect to a

  client or when the information has become generally known.” Fla. Bar R. Prof’l Conduct 4-1.9(a)-

  (b).

              A hearing is therefore necessary to probe the potential conflict arising from Mr. Irving’s

  prior representation of the three witnesses. After determining the nature and scope of a potential

  conflict, the Court must ensure that De Oliveira “understands the details of his attorney’s possible

  conflict of interest and the potential perils of such a conflict, [and] that he has discussed the matter




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            At the time the Government filed the motion for a Garcia hearing, the Government’s
  understanding was that Mr. Irving continued to represent these three individuals. In his response
  to the Government’s motion, Mr. Irving stated that he “no longer represents those three individuals,
  and new independent counsel is being made available to advise them going forward.” ECF No.
  137 at 2. Although Mr. Irving has not provided the names of the new lawyers, the Government
  assumes for purposes of this reply that those witnesses have retained or soon will retain new
  counsel, and that therefore the potential conflict arises from testimony at De Oliveira’s trial by Mr.
  Irving’s former clients.
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  with his attorney or if he wishes with outside counsel.” United States v. Garcia, 517 F.2d 272, 278

  (5th Cir. 1975). Should De Oliveira decide that he wishes to continue with Mr. Irving as his lawyer

  despite any potential conflict, the Court must conduct a colloquy that makes it “manifest on the

  face of the record” that De Oliveira has knowingly and voluntarily waived his right to conflict-free

  counsel. Id. And even if De Oliveira knowingly and voluntary waives any potential conflict, this

  Court retains substantial discretion to decline to accept a waiver. See Wheat v. United States, 486

  U.S. 153, 163 (1988); United States v. Ross, 33 F.3d 1507, 1523-24 (11th Cir. 1994).

         The new information that Mr. Irving provided in response to the Government’s Garcia

  motion—his assertion that he no longer represents the witnesses, that he did not obtain any relevant

  confidential information from his former clients, and that his co-counsel will be solely responsible

  for cross-examining the witnesses at trial—will undoubtedly be relevant to these proceedings. But

  these new developments do not eliminate the need for a Garcia hearing. Among other things, the

  Court should confirm these assertions in open court in De Oliveira’s presence, so that that Court

  can be satisfied that any waiver he might make is with a full and complete understanding of these

  developments.

         To the extent De Oliveira suggests (ECF No. 137 at 1, 3) that the existence of a potential

  conflict of interest rather than an actual conflict has a bearing on the need for a Garcia hearing or

  the scope of such a hearing, he is mistaken. The possibility of either a potential or actual conflict

  of interest triggers a judicial obligation to inquire into the possible conflict and decide whether to

  accept any waiver. See Wheat, 486 U.S. at 161-62. As the Supreme Court has explained, “a district

  court must pass on the issue whether or not to allow a waiver of a conflict of interest by a criminal

  defendant not with the wisdom of hindsight after the trial has taken place, but in the murkier pre-

  trial context when relationships between parties are seen through a glass, darkly.” Id. at 162. As



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  result, district courts must “be allowed substantial latitude in refusing waivers of conflicts of

  interest not only in those rare cases where an actual conflict may be demonstrated before trial, but

  in the more common cases where a potential for conflict exists which may or may not burgeon

  into an actual conflict as the trial progresses.” Id. at 163. Regardless of whether Mr. Irving’s prior

  representation of three potential witnesses against De Oliveira presents a potential conflict, rather

  than an actual conflict, that potential conflict triggers the need to investigate. See id. at 161; see

  also, e.g., United States v. Morelli, 169 F.3d 798, 812 (3d Cir. 1999) (“When a district court is

  aware, or should be aware, of a potential conflict of interest on the part of the defendant’s attorney,

  the court must inquire as to whether the defendant is aware of and waives this conflict.”); United

  States v. Leslie, 103 F.3d 1093, 1098 (2d Cir. 1997) (“When the court learns of a possible conflict,

  it must explore the problem.”).

         De Oliveira is also incorrect to suggest that the Government’s motion is premature (ECF

  No. 137 at 1-2, 5). Waiting to file such a motion or address a potential conflict risks substantially

  disrupting the proceedings and unnecessarily interfering with the Court’s calendar. A Garcia

  hearing is not a mere formality with a predetermined outcome that must simply occur any time

  before trial. After a defendant is informed of the circumstances surrounding a potential conflict,

  various outcomes are possible, including a defendant’s decision to retain new counsel, or the

  district court’s possible exercise of its discretion to disqualify the defendant’s attorney. Prudence

  therefore demands that a potential conflict be addressed expeditiously, as far ahead of trial as

  possible. See, e.g., United States v. Malpiedi, 62 F.3d 465, 470 (2d Cir. 1995) (“[W]e emphasize

  that the government can protect itself by informing the district judge of potential conflicts at the

  earliest possible moment.”). The steps that Mr. Irving indicates he has already taken to address the

  potential conflicts illustrate the value of raising these issues promptly.



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     II.      The Court Should Not Conduct the Hearing Ex Parte

           Although Mr. Irving “welcomes any inquiry of Mr. De Oliveira by the Court,” ECF No.

  137 at 2, he contends, as Mr. Woodward does, that the Court’s inquiry should be conducted entirely

  ex parte. ECF No. 137 at 2, 5, 8 (Irving); ECF No. 126 at 3 (Woodward). Neither Mr. Irving nor

  Mr. Woodward provides any basis to deviate from the normal Garcia hearing procedures. Eleventh

  Circuit “precedent requires” a “full-scale, adversarial hearing” to evaluate a potential conflict.

  United States v. Register, 182 F.3d 820, 830 (11th Cir. 1999). In In re Paradyne Corp., 803 F.2d

  604 (11th Cir. 1986), the court granted a writ of mandamus after the district court deviated from

  the “clearly delineated and well established procedure” in Garcia and instead “proposed to subject

  defendants, witnesses, and attorneys to a series of examinations closed to everyone but the judge,

  a court reporter, and the individual being questioned,” finding this “at odds with the principles of

  the open, adversarial system of justice guaranteed by our Constitution.” Id. at 608.

           Although Paradyne emphasized the implications for the constitutional rights of defendants,

  a Garcia inquiry into conflicts and waiver serves “[n]ot only the interest of a criminal defendant

  but the institutional interest in the rendition of just verdicts in criminal cases.” Wheat, 486 U.S. at

  160. “Federal courts have an independent interest in ensuring that criminal trials are conducted

  within the ethical standards of the profession and that legal proceedings appear fair to all who

  observe them.” Id. District courts also have a “legitimate wish . . . that their judgments remain

  intact on appeal.” Id. at 161. The Government similarly has an “interest . . . in shielding any

  potential conviction from collateral attack.” Garcia, 517 F.2d at 278. An open, adversarial

  proceeding protects not only the interests of the Defendant but also the interests of the Court and

  the Government in ensuring that the proceeding is conducted according to the applicable legal and

  professional standards. See Wheat, 486 U.S. at 160-61; Garcia, 517 F.2d at 278; United States v.



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  Schneider, 322 F. Supp. 3d 1294, 1296 (S.D. Fla. 2018) (“foundation” for court’s decision to

  disqualify counsel the “concern[] with the public’s perception regarding the fairness of these

  proceedings and the integrity of the judicial process....”) (internal quotation marks and citation

  omitted).

         Mr. Irving also contends (ECF No. 137 at 2, 6-8) that the three witnesses he previously

  represented need not be present at the Garcia hearing. The Government understands that the Court

  may find it unnecessary to hear from the witnesses if—as represented by Mr. Irving—he no longer

  represents them, Mr. Irving obtained no confidential information from the witnesses, and Mr.

  Irving’s co-counsel will be solely responsible for any cross-examination. The Court, however, has

  the discretion to call the witnesses if it concludes that they have information that would facilitate

  the Court’s inquiry. And that discretion does not turn on the relief requested by the Government.

  The Court may, for example, wish to hear from the witnesses regarding whether the witnesses

  provided confidential information to Mr. Irving, or whether they have any objection to the use of

  confidential information they may have provided.

         Finally, although Mr. Irving stresses that his former clients have (or will have) independent

  counsel “available to advise the witnesses going forward,” he does not address the Government’s

  request that De Oliveira have the opportunity, if he wishes, to confer with independent counsel.

  Garcia expressly recognizes that a defendant should have the opportunity to discuss potential

  conflicts with outside counsel “if he wishes.” 517 F.2d at 278. Independent counsel may provide

  a defendant with valuable advice. See Wheat, 486 U.S. at 163 (“[T]he willingness of an attorney

  to obtain [conflicts] waivers from his clients may bear an inverse relation to the care with which

  he conveys all the necessary information to them.”). The Government accordingly requests that




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  this Court procure independent counsel to be present at the hearing and available to advise De

  Oliveira on potential conflicts.

     III.      Conclusion

            The Court should hold a Garcia hearing to inquire into potential conflicts arising from Mr.

  Irving’s prior representation of three witnesses the Government may call to testify against De

  Oliveira. The hearing should not be conducted ex parte, and the Court should make independent

  counsel available to provide De Oliveira with advice should he desire it.

                                                 Respectfully submitted,

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  September 6, 2023




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on September 6, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission

  of Notices of Electronic Filing.

                                              /s/ David V. Harbach, II
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